                                      United States Bankruptcy Court
                                      Middle District of Tennessee
In re:                                                                                  Case No. 18-04526-RSM
Integrated Healing Technologies, LLC                                                    Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0650-3           User: jmw0113                Page 1 of 6                   Date Rcvd: Jul 24, 2018
                               Form ID: 2040l               Total Noticed: 339


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 26, 2018.
db             +Integrated Healing Technologies, LLC,      100A Beta Drive,    Franklin, TN 37064-3912
aty            +Law Office of John C. McLemore, PLLC,      2000 Richard Jones Rd., Ste. 250,
                 Nashville, TN 37215-2885
aty            +Thompson Burton, PLLC,     6100 Tower Circle, Suite 260,    Franklin, TN 37067-1465
cr             +Albert Rodewald,    c/o Timothy G. Niarhos,     1106 18th Ave S,    Nashville, TN 37212-2107
6681142         ABIGO MEDICAL SB,    SE-436,    33EKONOMIVAGEN 5,    SWEDEN
6681143         ACOG,   EXHIBITS MANAGEMENT,     409 12TH ST SW,    WASHINGTON DC 20024-2188
6681144        +ACTION BUSINESS CONSULTING,     6051 RURAL PLAINS CIR, UNIT 301,     FRANKLIN TN 37064-1692
6681145        +ADVANCED AMBULATORY INC,     PO BOX 981047,    HOUSTON TX 77098-8047
6681146        +AESTHETIC COMPONENTS,    1200 WALD RD,     ORLANDO FL 32806-6355
6681147         AGASTI, JEN RN CWCA FACCWS,     141 PINE AVE,    FORCE PA 15841
6681148        +ALABAMA ORTHOPAEDIC SOCIETY,     1085 CHESSON HILL DR,    FITZPATRICK AL 36029-2646
6681149        +ALEXANDER’S CATERING LLC,     511 UNION ST, STE 2626,    NASHIVLLE TN 37219-1794
6681150         ALEXANDER, MALLORY,    PO BOX 116450,    ATLANTA GA 30368-6450
6681151        +ALEXIARES LLC,    208 CRAIGHEAD ST,    NASHVILLE TN 37205-2512
6681152        +ALFREY MD, DAVID,    22 WYNSTONE,    NASHVILLE TN 37215-5800
6681153        +AMERICAN SOCIETY OF PLASTIC SURGEONS,      ATTN: FINANCE DEPT,    444 EAST ALGONQUIN RD,
                 ARLINGTON HEIGHTS IL 60005-4664
6681154        +ANDERSON, STEFANIE,    2728 BLUE HERON DR,     FLORISSANT MO 63031-5513
6681291         ANDREW HEATH MD,    1 CARLYLE MANSIONS,     52 CHEYNE WALK,    LONDON SW3 5LS,   UNITED KINGDOM
6681155       #+ANDREWS AGENCY LLC (THE),     209 10TH AVE S, STE 525,    NASHVILLE TN 37203-7102
6681156        +ANDREWS, THOMAS,    208 JACKSON BLVD,    NASHVILLE TN 37205-3300
6681157        +ARKANSAS SECURITIES DEPT,     HERITAGE WEST BLDG, STE 300,     201 EAST MARKHAM ST,
                 LITTLE ROCK AR 72201-1627
6681158        +ARMACOST, JOHN,    1692 S. WALNUT DR,    WARSAW IN 46580-7355
6681159         ATMOS ENERGY,    PO BOX 790311,    SAINT LOUIS MO 63179-0311
6681160        +ATNIP, JOE,    7316 OLD CLARKSVILLE PKE,     JOELTON TN 37080-9402
6681161         AWHONN,   ATTN: MICHELE FLANAGAN RNC,      9 MEDICAL PARK, STE 320,    COLUMBIA SC 29203
6681162        +BAIRD, IAN,    175 BAYPOINTE PKWY, APT 422,     SAN JOSE CA 95134-1693
6681163        +BAIRD, JAMES,    5214 RUSTIC WAY,    OLD HICKORY TN 37138-1344
6681164         BARNEY, PAUL,    PO BOX 842818,    BOSTON MA 02284-2818
6681165        +BASS, NANCY ANN,    810 BELLEVUE RD UNIT 242,     NASHVILLE TN 37221-2736
6681166        +BATEMAN, MARY,    1200 GENERAL MCARTHUR DR,     BRENTWOOD TN 37027-6609
6681167        +BATEMAN, SUZANNE,    1200 GENERAL MCARTHUR DR,     BRENTWOOD TN 37027-6609
6681168        +BATES, REEDA,    497 WHISPERING HILLS DR,     NASHVILLE TN 37211-5342
6681169        +BAURLE MD, ERIC J,    1806 IVY CREST DR,     BRENTWOOD TN 37027-3821
6681170        +BEAN REALTY PARTNERS LLC,     3841 GREEN HILLS VILLAGE DR, STE 400,     NASHVILLE TN 37215-2691
6681171        +BECHERT, KARI,    1024 ASHLAND AVENUE,     EVANSTON IL 60202-1139
6681172        +BENCE, STACI,    497 WHISPERNG HILLS DR,     NASHVILLE TN 37211-5342
6681173        +BENCHMARK INVESTORS GROUP,     400 SUGARTREE LN, STE 310,    FRANKLIN TN 37064-3074
6681174        +BENGEL LIVING TRUST,    1107 FLEMING ST,     KEY WEST FL 33040-6909
6681175        +BENRUD, CONSTANCE,    510 W ERIE, #1901,     CHICAGO IL 60654-6424
6681176        +BERGAN, JAMIE,    5382 COBBLER WAY,    CAMILLUS NY 13031-4306
6681177        +BES STUDIOS,    5711 OLD OSBORNE TURNPIKE,     HENRICO VA 23231-3059
6681178        +BETSY V MATLOCK REVOCABLE TRUST,     353 CUDDY CT,    NAPLES FL 34103-4074
6681179        +BICKEL, BECKY,    1888 WILSON PIKE,    FRANKLIN TN 37067-7506
6681180        +BLACK TIE MOVING NASHVILLE,     320SEVEN SPRINGS WAY,    BRENTWOOD TN 37027-4537
6681181        +BLOUNT, JOHN,    212 LARKTON PL,    FRANKLIN TN 37069-8211
6681182        +BLOUNT, SCOTT C,    3001 DEL CUROTO RD, UNIT B,     AUSTIN TX 78704-5154
6681183        +BOVENDER JR, JACK,    520 BELLE MEADE BLVD,     NASHVILLE TN 37205-3424
6681184        +BRINDLE, TOD,    6165 BOOTSIE BLVD,    HENRICO VA 23231-7960
6681185        +BRITTON, JIM,    3 GIBSON,    LITTLEROCK AR 72227-2205
6681186        +BROWN MD, PHILLIP,    518 PARK CENTER DR,     NASHVILLE TN 37205-3430
6681187        +BROWN, MICHELLE,    3617 18TH ST NE,    WASHINGTON DC 20018-2701
6681188         BUCKEYE HOME HEALTH CARE,     ATTN: BHHC WOUND FAIR,    7700 PARAGON RD,    SELKIRK NY 12158
6681189        +BUFORD, MARK,    1003 HEATHROW HILLS CT,     BRENTWOOD TN 37027-6838
6681190        +BUMSTEAD, FRANK,    PO BOX 340020,    NASHVILLE TN 37203-0020
6681191        +BURD, PAUL,    5516 STANFORD DR,    NASHVILLE TN 37215-4238
6681192        +BURNS, BRANDON,    3217 ROLLING STONE,     OKLAHOMA CITY OK 73120-1839
6681193     ++++BURR, ROBERT,    1262 HAYES LN,    BOWLING GREEN KY 42103-1459
               (address filed with court: BURR, ROBERT,       1314 FAIRVIEW AVE,    BOWLING GREEN KY 42103)
6681194        +BUSINESS FURNITURE WAREHOUSE,     706 19TH AVE N,    NASHVILLE TN 37203-1900
6681195        +CALDWELL, MEREDITH,    28 INVERARAY,    NASHVILLE TN 37215-4129
6681196        +CALVETTI, MIKE,    194 ESMER CT,    NEWARK DE 19711-8510
6681197        +CAPITAL DISTRICT WOCN,     ATTN: MICHELLE MURRAY,    7700 PARAGON RD,    DAYTON OH 45459-4081
6681198        +CARINO, PETE,    1089 BROOKHAVEN SQ NE,     ATLANTA GA 30319-2878
6681199        +CARMICHAEL, CROM,    2605 ELM HILL PIKEM STE I,     NASHVILLE TN 37214-3157
6681200        +CARPENTER, JOHN,    20 FOX FARMS RD,    FLORENCE MA 01062-1335
6681201        +CARR RIGGS & INGRAM,    3011 ARMORY DRIVE STE190,     NASHVILLE TN 37204-3746
6681202        +CASTELLO, CHRIS,    104 BENNINGTON RD,     GREER SC 29650-3500
6681203        +CASTRASIM HOLDINGS LLC,     8600 FERN AVE,    SHREVEPORT LA 71105-5639
6681204        +CATHOLIC HEALTH SYSTEM,     ATTN: KRISTIE COLEMAN,    2625 HARLEM RD, STE 120,
                 CHEEKTOWAGA NY 14225-4031

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6681205        +CHARLOTTE CONVENTION CTR,     C/O SMART CITY NETWORKS,    5795 W BADURA AVE, STE 110,
                 LAS VEGAS NV 89118-4724
6681206        +CHURCH, DALLAS WARREN,     95 CHRISTOPHER ST, APT 7i,    NEW YORK NY 10014-6627
6681208        +CITY OF FRANKLIN,    109 THIRD AVE S, STE 141,     FRANKLIN TN 37064-2562
6681209        +CLARK-EVANS, CAROL P,     1010 MANLEY LN,    BRENTWOOD TN 37027-5501
6681210        +COBLE, G W II,    5033 OLD HICKORY BLVD,     NASHVILLE TN 37218-4020
6681211        +COBLE, GEORGE WILLIAM III,     7620 OLD CHARLOTTE PIKE,    NASHVILLE TN 37209-5504
6681212        +COLLINS, TIMOTHY,    6933 GENTRY LN,    MASON OH 45040-7591
6681214         COMER, KEIA,    PO BOX 306003,    NASHVILLE TN 37230-6003
6681215         COMMERCIAL INSUR ASSOC LLC,     103 POWELL CT, STE 100,    BRENTWOOD TN 37027-5050
6681216        +COMPLETE ANSWERING SERVICE,     C/O ANSUR SYSTEMS LLS,    5225 KATY FREEWAY, STE 409,
                 HOUSTON TX 77007-2252
6681217        +CONCUR TECHNOLOGIES,     62157 COLLECTIONS CENTER DR,    CHICAGO IL 60693-0001
6681218        +CONWAY-WELCH, COLLEEN,     C/O FRANK BUMSTEAD,    PO BOX 340020,    NASHVILLE TN 37203-0020
6681219        +COPY SOLUTIONS,    4091 MALLORY LANE STE 128,     FRANKLIN TN 37067-4850
6681220        +CORK MEDICAL,    8050 CASTELWAY DR,    INDIANAPOLIS IN 46250-1915
6681221        +COSMAS, RONALD,    1302 GUILES HILL CT,     BRANDON FL 33511-7612
6681223        +CRAIG, MARGARET C,    27 LEXINGTON GREEN,     NASHVILLE TN 37215-2457
6681224        +CRUMP LAW PC,    PO BOX 604,    NEW CASTLE IN 47362-0604
6681226        +CSI MEDICAL,    170 COMMERCE WAY,    GALLATIN TN 37066-4647
6681227        +DALTON, PAUL,    1200 WALD RD,    ORLANDO FL 32806-6355
6681228        +DARDEN, MATT,    144 BAIN DR, STE 100,     LA VERGNE TN 37086-3642
6681229        +DAVIS, JEFFREY K III,     1235 BROADGATE DR,    FRANKLIN TN 37067-6517
6681230        +DAVIS, PAM,    1235 BROADGATE DR,    FRANKLIN TN 37067-6517
6681232         DEMPSEY, KRISSY,    PO BOX 743699,    ATLANTA GA 30374-3699
6681233        +DICKE, JAMES F II,    40 S WASHINGTON ST,     NEW BREMEN OH 45869-1288
6681234        +DIXON, PAUL,    1651 TAMMARRON AVE SE,     GRAND RAPIDS MI 49546-9734
6681236        +DOWNS, DOUG,    18723 BROOKSHADE LN,    LOUISVILLE KY 40245-6222
6681237        +DRUG ENFORCEMENT ADMIN,     ATTN: REGISTRATION SECTION/ODR,     PO BOX 2639,
                 SPRINGFIELD VA 22152-0639
6681238        +DUDLEY MD, BUNYAN S,     507 SANDPIPER CIR,    NASHVILLE TN 37221-4387
6681239        +DUDLEY, JONATHAN,    325 IDEAL WAY,    CHARLOTTE NC 28203-5618
6681240        +DUNSTAN GROUP LLC (THE),     1200 E MOREHEAD ST #140,    CHARLOTTE NC 28204-2863
6681241        +EAG INC,    PO BOX 604,    NEW CARLISLE IN 46552-0604
6681242        +EATON, KARIN C,    2012 25TH AVE S,    NASHVILLE TN 37212-4203
6681243        +ELCAM MEDICAL INC,    2 UNIVERSITY PLAZA, STE 620,     HACKENSACK NJ 07601-6224
6681244        +ELDRIDGE, WILLIAM C,     DBA SURG & AESTHETIC LIGHT TECHNOLOGIES,     11605 APRILBUD DR,
                 HENRICO VA 23233-8709
6681245        +ELLSWORTH ADHESIVES,     W129 N10825 WASHINGTON DR,    GERMANTOWN WI 53022-4446
6681246        +EMERY PHARMA,    1000 ATLANTIC AVE, STE 110,     ALAMEDA CA 94501-1112
6681247        +ENTREKIN, HUGH,    1432 TYNE BLVD,    NASHVILLE TN 37215-4416
6681248        +ESKIND MD, JEFFREY,     416 ELLENSDALE AVE,    NASHVILLE TN 37205-3402
6681249        +ESKIND MD, STEVEN,    2322 GOLF CLUB LN,     NASHVILLE TN 37215-1155
6681250        +ET ASSOCIATES,    ATTN: MARY ELLEN SCHRADER,     PO BOX 617,    NEW HARTFORD NY 13413-0617
6681251         FED EX,    PO BOX 371461,    PITTSBURGH PA 15250-7461
6681252        +FELL, KEITH,    507 CARONDELET ST,    MANDEVILLE LA 70448-5002
6681253        +FELLA, HENRY,    1306 ELIZABETH BLVD,     FORT WORTH TX 76110-2516
6681254        +FERGUSON, GARY,    9233 OLD SMYRNA RD,     BRENTWOOD TN 37027-6110
6681255        +FIRSTBANK,    211 COMMERCE ST, STE 300,     NASHVILLE TN 37201-1810
6681256        +FISHER, JACK,    5867 FREDERICKSBURG DR,     NASHVILLE TN 37215-4817
6681257        +FISHER, JEFF,    539 CLOSE LN,    NASHVILLE TN 37205-2702
6681258        +FISHER, PATRICK,    15334 AZRA DR,    ODESSA FL 33556-1863
6681259        +FIVE IRON TECHNOLOGIES,     501 CORPORATE CTR, STE 510,    FRANKLIN TN 37067-6453
6681260        +FIVE STAR VENTURE FUNDING,     2002 TYNE BLVD,    NASHVILLE TN 37215-4705
6681261        +FLASHBAY, INC,    569 CLYDE AVE, UNIT 500,     MOUNTAIN VIEW CA 94043-2257
6681262        +FLATT, STEPHEN F,    1872 SANCTUARY PL,     MURFREESBORO TN 37128-4924
6681263        +FLORIDA PLASTIC SURGERY SOCIETY (THE),      ATTN SUSAN RUSSELL,    6300 SAGEWOOD DR STE H255,
                 PARK CITY UT 84098-7502
6681264        +FLOSURE TECHNOLOGIES LLC,     PO BOX 123,    TARRYTOWN NY 10591-0123
6681265        +FOLLIN, KATHY,    4416 GERALD PL,    NASHVILLE TN 37205-3806
6681266         FREEMAN EXHIBITOR SVCS,     PO BOX 660613,    DALLAS TX 75266-0613
6681267        +FREIBERG MD, CRAIG,     4021 OVERBROOK DR,    NASHVILLE TN 37204-4326
6685870        +FirstBank,    c/o Erika R. Barnes,    Stites & Harbison PLLC,     401 Commerce Street, Suite 800,
                 Nashville, TN 37219-2490
6681268        +GABRIEL, ALLEN,    785 NW VALLEY ST,    CAMAS WA 98607-9198
6681269        +GALBRAITH, DOUG,    931 ROLLING MEADOWS RD,     WAYNESBURG PA 15370-3469
6681270         GDSA LLC,    1393 OLD HILLSBORO RD,    FRANKLIN TN 37069-9132
6681271         GE VAN BREUKELEN,    MEDITOP BV,    VLASSAKKER 22,    3417 XT MONTFOORT,     THE NETHERLANDS
6681273        +GEURIN, CASSANDRA,    2201 BOWMAN RD,     FRANKLIN TN 37064-4918
6681274        +GILL, DON,    3011 ARMORY DR, STE 190,     NASHVILLE TN 37204-3746
6681275        +GINGRASS MD, MARY,    1915 STATE ST,    NASHVILLE TN 37203-2209
6681276        +GOAD, FRED,    917 STUART LN,    BRENTWOOD TN 37027-5823
6681277        +GRAHAM, RITCHEY,    65 BROOKWOOD TER,     NASHVILLE TN 37205-1409
6681278        +GRAYMAR INVESTORS,    411 GREAT CIRCLE RD,     NASHVILLE TN 37228-1403
6681279         GREATER CINCINNATI WOUND OSTOMY ASSOC,      WEST CHESTER HOSP ATTN: JACKIE BROWN,
                 7700 HOSPITAL DR, OFFC 4003,     WEST CHESTER OH 45069
6681280        +GRIFFITH, CHARLES B,     108 HARDING PL #203,    NASHVILLE TN 37205-3704
6681281        +GRINDSTAFF, EDWARD D,     6210 BELLE RIVE DR,    BRENTWOOD TN 37027-5616
6681282        +GROTTING MD, JAMES C,     2610 CALDWELL MILL LN,    BIRMINGHAM AL 35243-1714
6681283        +GROWTHWRIGHT,    ATTN: COLE GRIFFITH,     301 PLUS PARK BLVD, STE 215,    NASHVILLE TN 37217-1118
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6681284         GS1 US INC,    DEPT 781271,    PO BOX 7800,    DETROIT MI 48278-1271
6681285         GSI US INC,    DEPT 781271,    PO BOX 7800,    DETROIT MI 48278-1271
6681286        +GUTHRIE, STEPHEN D,    32416 MARIA CT,    LIVONIA MI 48152-4275
6681287        +HALL, WESLEY,    937 FALLVIEW TRAIL,    NASHVILLE TN 37211-6839
6681288         HANNULA, DON,    DEPT CH 19041,    PALATINE IL 60055-9041
6681289        +HAWS MD, MELINDA,    35 ERWIN CT,    NASHVILLE TN 37205-5006
6681290        +HEALTHCO SEARCH INTERATIONAL,     C/O BOB HUTCHISON,    879 PINE TREE RD W,
                 LAKE ORION MI 48362-2561
6681292        +HELL YEAH LLC,    2518 37TH AVE NE,    ST ANTHONY MN 55421-3632
6681293        +HMP COMMUNICATIONS,    70 E SWEDESFORD RD, STE 100,     MALVERN PA 19355-1476
6681294        +HOLMES, TAYLOR,    112 WICKHAM CT,    HENDERSONVILLE TN 37075-4564
6681295        +HOOPER, JOHN M III,    4410 GERALD PL,    NASHVILLE TN 37205-3806
6681296        +INGRAM POA, ORIN H,    4400 HARDING RD,     NASHVILLE TN 37205-2204
6681297        +INGRAM, ORIN H II,    1475 MORAN RD,    FRANKLIN TN 37069-6301
6681298        +INNOVATIVE RESOURCE INC,     547 MEADOWVIEW DR,    WAUCONDA IL 60084-2382
6681299        +INVICTA TECHNOLOGY LLC,     7316 OLD CLARKSVILLE PK,    JOELTON TN 37080-9402
6681300        +JACKSON, CLAY,    5819 HILLSBORO PKE,    NASHVILLE TN 37215-4601
6681301        +JARAMILLO, ONESIMO,    4114 TRINITY LA,     FRANKLIN TN 37067-7716
6681302        +JOHJNSON, MAC,    1380 OLD 122ND RD,    LEBANON OH 45036-9496
6684416        +JOHN BLOUNT,    1101 NORRIS DR,    PAWLEYS ISLAND SC 29585-5513
6681303        +JOHNSON’S LOCK & KEY,    413 INDEPENDENCE SQ,     FRANKLIN TN 37064-2128
6681304        +JOHNSON, MARC,    1380 OLD 122ND RD,    LEBANON OH 45036-9496
6681305        +JP DISPLAY,    327 WEST REDBERRY RD,    DRAPER UT 84020-9513
6681306        +JUNK KING NASHVILLE,    125 SPACE PARK S,     NASHVILLE TN 37211-3119
6681307        +KELLEHER, KATHLEEN,    6275 JONES RD,    BURLINGTON WI 53105-9049
6681308        +KERTH, ANDREW,    5150 E POINSETTIA DR,     SCOTTSDALE AZ 85254-4661
6681309         LBMC TECHNOLOGY SOLUTIONS,     PO BOX 1869,    BRENTWOOD TN 37024-1869
6681310        +LIEN, BONNIE,    2324 MUSTANG WAY,    SPRING HILL TN 37174-3506
6681311        +LIPMAN, LARRY,    5906 HILLSBORO PKE,    NASHVILLE TN 37215-4604
6681312        +LIPMAN, ROBERT,    411 GREAT CIRCLE RD,     NASHVILLE TN 37228-1403
6681313        +LLOYD, MATT,    PO BOX 251,    THOMPSON STATION TN 37179-0251
6681314        +LOCH COMPANY,    PO BOX 92,    ARRINGTON TN 37014-0092
6681315        +LOUISIANA BD OF DRUGS,    12091 BRICKSOME AVE, STE B,     BATON ROUGE LA 70816-2774
6681316        +LYNCH, TIM,    2125 ANTIGUA DR,    LEXINGTON KY 40509-9548
6681317         MANN, CHARLES,    5853 GODWIN RD,    SANTE FE TN 38482
6681318        +MARTIN INVESTMENT HOLDINGS (SERIES 11),      40 BURTON HILLS BLVD, STE 100,
                 NASHVILLE TN 37215-6291
6681319        +MARTIN, CHARLES,    40 BURTON HILLS BLVD, STE 100,     NASHVILLE TN 37215-6291
6681320        +MARY ELIZABETH FRANKLIN REVOCABLE TRUST,      301 BOWLING AVE,    NASHVILLE TN 37205-2519
6681321         MASSEY, CINDY,    PO BOX 751766,    CHARLOTTE NC 28275-1766
6681322        +MAXWELL MD, G PATRICK,    C/O FRANK BUMSTEAD,     PO BOX 340020,    NASHVILLE TN 37203-0020
6681323         MCCREARY, PAUL,    W140 N9572 FREISTADT RD,     GERMANTOWN WI 53022
6681324        +MCMAHAN, JOE,    219 LEONARD AVE,    NASHVILLE TN 37205-2425
6681325         MEDEXPRESS,    PO BOX 7964,    BELFAST ME 04915-7900
6681326        +MEDFORD, ZACH,    2211 NORFOLK, STE 403,     HOUSTON TX 77098-4051
6681328        +MEDLINE INDUSTRIES INC,     LIBERTYVILLE-B02,    1501 HARRIS RD,    LIBERTYVILLE IL 60048-2433
6681329         MEDRIO INC,    PO BOX 398372,    SAN FRANCISCO CA 94139-8372
6681330        +MERCY SURGICAL DRESSING GROUP INC.,     4 ZESTA DR,    PITTSBURGH PA 15205-9725
6681331        +MICHIGAN SECTION ACOG,    C/O KAREN CARTER,     3031 W GRAND BLVD, STE 645,
                 DETROIT MI 48202-5002
6681332        +MIDDLE TN ELECTRIC MEMBERSHIP CORP,     555 NEW SALEM HWY,     MURFREESBORO TN 37129-3390
6681333        +MIDEAST REGION KY WOCN,     C/O BETH FANGMAN,    3609 GLENCREEK LN,    LOUISVILLE KY 40218-1520
6681334        +MITCHELL WILLIAMS SELIG GATES PLLC,     425 W CAPITOL AVE, STE 1800,     LITTLE ROCK AR 72201-3527
6681335        +MIXON, JOSH,    PO BOX 13353,    LEXINGTON KY 40583-3353
6681336        +MOORE, JANINE E,    4650 EVERAL LN,    FRANKLIN TN 37064-7723
6681337        +MOSS-DUDLEY, LAURIE,    507 SANDPIPER CIR,     NASHVILLE TN 37221-4387
6681338        +MULLINS, KEITH,    301 PLUS PARK BLVD STE 500,     NASHVILLE TN 37217-1088
6681339        +MULRON, TIMOTHY,    717 BRESSLYN RD,    NASHVILLE TN 37205-2601
6681340       #+MURARI, CHOKSI,    801 DEL RIO PKE APT A12,     FRANKLIN TN 37064-4232
6681341        +MURPHY, SUSAN,    500 DEADERICK ST,    NASHVILLE TN 37242-0001
6681342        +MURRAY, CHRISTIAN,    116 HALLIARD DR,    EATONTOWN NJ 07724-2182
6681343         MY OFFICE SUPPLY,    PO BOX 306003,    NASHVILLE TN 37230-6003
6681344        +NANCE, AMY CROSS,    103 FORREST CROSSING BLVD, STE 205,     FRANKLIN TN 37064-5453
6681345        +NATIONAL DISTRIBUTION AND CONTACTING,     402 BNA DR STE 500,     NASHVILLE TN 37217-2551
6681346         NATIONAL REGISTERED AGENTS,     2875 MICHELLE ST 100,    IRVINE CA 92606-1024
6681347         NDC,   DEPT 169 PO BOX 37904,     CHARLOTTE NC 28237-7904
6681348        +NELSON, MEREDITH B,    2704 TYNE BLVD,    NASHVILLE TN 37215-4532
6681349        +NER WOCN,    1100 W CENTRE ST,    SHENANDOAH PA 17976-1408
6681350        +NORTH, DAVID,    14142 KINGS FARM CT,    MIDLOTHIAN VA 23113-3766
6681351        +NOVACOPY,    PO BOX 372 DEPT 200,    MEMPHIS TN 38101-0372
6681352        +NOVASTYLE HEALTH,    5999 AVENIDA ENCINAS STE 100,     CARLSBAD CA 92008-4460
6681353        +O’SHAUGHNESSY MD, KRISTINA,     2016 SUNSET HILLS TER,    NASHVILLE TN 37215-4709
6681354         OH BUREAU OF WORKER’S COMPENSATION,     BWC STATE INSUR FUND,     PO BOX 89492,
                 CLEVELAND OH 44101-6492
6681355        +OH TREASURER OF STATE,    30 E. BROAD ST 9TH FL,     COLUMBUS OH 43215-3461
6681357        +OLK INVESTMENTS LLC,    3468 W BLUFF AVE,     FRESNO CA 93711-0105
6681358        +OWEN, RHONDA,    4113 HELENA BAY CT,    HERMITAGE TN 37076-3151
6681359         OXFORD UNIVERSITY PRESS,     THE CASHIERS OFFC,    GREAT CLARENDON ST,    OXFORD OX2 6DP,
                 UNITED KINGDOM
6681360        +PACIFIC BIOLABS,    551 LINUS PAULING DR,     HERCULES CA 94547-1830
          Case 3:18-bk-04526        Doc 23 Filed 07/26/18 Entered 07/27/18 00:19:55                 Desc
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                              Form ID: 2040l               Total Noticed: 339


6681361        +PAOS,   PO BOX 10781,    GLENDALE AZ 85318-0781
6681362        +PARANET CORP SVCS INC,    3675 CRESTWOOD PKWY STE 350,     DULUTH GA 30096-5054
6681363        +PATTERSON INTELLECTUAL PROPERTY LAW PC,      ROUNDABOUT PLAZA,    1600 DIVISION ST,
                 NASHVILLE TN 37203-2754
6684411        +PAUL BURD,    1033 DEMONBREUN ST STE 500,     NASHVILLE TN 37203-4459
6681364        +PEACE COMMUNICATIONS LLC,     PO BOX 909,    CHATTANOOGA TN 37401-0909
6681365        +PEARSON, LAURI,    502 HUNTINGTON RIDGE DR,     NASHVILLE TN 37211-5995
6681366        +PENSAR MEDICAL LLC,    684 PARKRIDGE AVE,     NORCO CA 92860-3124
6681367         PHARMACO THERAPY CONSULTANTS LLC,     101 FOREST CROSSING RD,     1700 PMB STE 389,
                 BRENTWOOD TN 37027
6681368        +PIONEER MEDICAL INC,    PO BOX 92545,     NASHVILLE TN 37209-8545
6681369        +PLURIS RESEARCH,    1254 WINDSONG CT,     BRENTWOOD TN 37027-8487
6681370        +POE, ANTOINE,    2223 KAVANAUGH BLVD,     LITTLE ROCK AR 72205-3935
6681371        +PORTER, ROBERT STEPHEN,     115 PENN WARREN DR STE 300-389,     BRENTWOOD TN 37027-5047
6681372        +PORTER, STEPHEN,    127 HABERSHAM RD,     COLUMBIA TN 38401-5706
6681373        +POWELL, TRACY,    150 3RD AVE S, STE 1100,     NASHVILLE TN 37201-2037
6681374         PREMIER HEALTHCARE ALLIANCE LP,     PO BOX 847650,    LOS ANGELES CA 90084-7650
6681375        +PREMIER HEALTHCARE SOLUTIONS,     5882 COLLECTIONS CENTER DR,     CHICAGO IL 60693-0058
6681376        +PRINT WORKS,    493 CAVE RD,    NASHVILLE TN 37210-2301
6681377         PROTECTION 1,    PO BOX 219044,    KANSAS CITY MO 64121-9044
6681378        +PUPELIS, ROB,    2211 NORFOLK STE 403,     HOUSTON TX 77098-4051
6681379         QUILL CORP,    PO BOX 37600,    PHILADELPHIA PA 19101-0600
6681380        +R & B BUILDING MAINTENANCE,     PO BOX 291652,    NASHVILLE TN 37229-1652
6681381        +R & Q,   2790 MOSSIDE BLVD STE 800,     MONROEVILLLE PA 15146-2768
6681382         R R DONNELLEY,    7810 SOLUTION CTR,    CHICAGO IL 60677-7008
6681383        +REALSCENARIO INC,    3745 SAN SIMEON CIR,     WESTON FL 33331-5050
6681384        +REBROVICK, LINDA,    5202 CLOSE CIR,    NASHVILLE TN 37205-2716
6681385        +RED CARPET SELF STORAGE,     108 WERTHAN CIR,    FRANKLIN TN 37064-4019
6681386        +REDDY MD, V SREENATH,    3513 WOODMONT BLVD,     NASHVILLE TN 37215-1427
6681387        +REHBERG, KYLE,    5370 N HILLBROOKE TRACE,     ALPHARETTA GA 30005-7236
6681388         REPUBLIC SVCS,    PO BOX 9001099,    LOUISVILLE KY 40290-1099
6681389        +RESCHKE, GARY RICHARD,    7193 25 MILE RD,     SHELBY TOWNSHIP MI 48316-1822
6681390        +REYES ORTEGA, AMERELIS,     7817 HEATON WAY,    NASHVILLE TN 37211-7053
6681391         RIDGEFIELD PROPERTIES,    515 CHURCH ST, STE 3703,     NASHVILLE TN 37219-3009
6681392         ROBERT HALF EXECUTIVE SEARCH,     PO BOX 743295,    LOS ANGELES CA 90074-3295
6681393        +RODEWALD, ALBERT,    4814 BYRD LN,    COLLEGE GROVE TN 37046-9261
6681394        +ROEHLING, CHAD,    17125 BRUMBELOW RD,     NEEDVILLE TX 77461-1715
6681395       #+ROLAND’S PHOTOGRAPHY,    2817 WEST END AVE #126-129,     NASHVILLE TN 37203-1453
6681396        +ROMANO, CRYSTAL,    3108 DEERFIELD RIDGE DR,     MCDONALD PA 15057-1503
6681397        +ROSS, JAY HARDIN,    4420 GERALD PLACE,     NASHVILLE TN 37205-3806
6681398         RUSH FOUNDATION HOSPITAL,     1314 9TH AVE,    MERIDIAN MS 39301-4116
6681399        +SAFE-DRY CARPET CLEANING,     133 CITATION CT,    BIRMINGHAM AL 35209-6306
6681400        +SALENE TRUST,    3821 INLET ISLE DR,    CORONA DEL MAR CA 92625-1603
6681401         SALESFORCE.COM INC,    PO BOX 203141,     DALLAS TX 75320-3141
6681402        +SAMRA, TJ,    20 FOX FARMS RD,    FLORENCE MA 01062-1335
6681403        +SANTI MD, STEVE F,    1105 RADNOR GLEN DR,     BRENTWOOD TN 37027-4135
6681404        +SARTORIUS,    5 ORVILLE DR,    BOHEMIA NY 11716-2535
6681405        +SCHWABER MD, MITCHELL,    703 OVERTON PK,     NASHVILLE TN 37215-2451
6681406        +SCR OF THE WOCN SOCIETY,     ATTN: JANET FIELDS,    5522 S DELAWARE CT,    TULSA OK 74105-7436
6681407         SECRETARY OF STATE, DELAWARE,     DIV OF CORPORATIONS,    PO BOX 5509,    BINGHAMTON NY 13902-5509
6681408        +SEEZEN, HANS,    1204 SAXON DR,    NASHVILLE TN 37215-4408
6681409        +SESLER, DEBBIE AND LYNETTE,     301 ROSA L PARKS #411,    NASHVILLE TN 37203-3581
6681410        +SHAREFILE,    120 S WEST ST,    RALEIGH NC 27603-1834
6681411        +SHEPARD EXPOSITION SVCS,     1424 HILLS PL,    ATLANTA GA 30318-2821
6681412        +SHERRARD ROE VOIGHT & HARBISON PLC,     150 3RD AVE S,    NASHVILLE TN 37201-2011
6681413         SHIP MY ORDERS INC,    1401 POPLAR LANE,     NASHVILLE TN 37210-4519
6681414        +SHIP MY ORDERS INC.,    4031 INDUSTRIAL CTR DR STE 705,     NORTH LAS VEGAS NV 89030-0231
6681415        +SHOCK, KAREN,    682 CR 431,    THORNDALE TX 76577-8752
6681416        +SIMONSEN, CHRISTOPHER M,     4013 COPELAND DR,    NASHVILLE TN 37215-2201
6681417        +SITAR, AMI,    21304 S FORREST VIEW DR,     SHOREWOOD IL 60404-8227
6681418        +SKYLINE EXHIBITOR SOURCE,     144 BAIN DR, STE 100,    LAVERGNE TN 37086-3642
6681419        +SMITH JR, GEORGE D,    1207 NICHOL LN,     NASHVILLE TN 37205-4419
6681420        +SMITH MD, DELL PARKER,    1880 FILLMORE AVE N,     TWIN FALLS ID 83301-3015
6681421        +SMITH, DAVID,    735 EAST IRON HILL RD,     BURNS TN 37029-5231
6681422        +SMITH, JOE,    570 GRAND DR NE,    CLEVELAND TN 37312-5066
6681423        +SMITH, JOSHUA,    7002 WESTBELT DR,    NASHVILLE TN 37209-1023
6681424        +SMOOT, DIANN,    3605 POINCIANA AVE,    READING PA 19605-1555
6681425        +SPI,   LINCOLN TOWER PLAZA STE 505,     524 S 2ND ST,    SPRINGFIELD IL 62701-1749
6681426         ST JUDE CHILDREN’S RESEARCH HOSP,     PO BOX 1000 DEPT 142,     MEMPHIS TN 38148-0142
6681427         STANFORD UNIVERSITY,    PO BOX 44253,     SAN FRANCISCO CA 94144-4253
6681428         STERICYCLE INC,    PO BOX 6575,    CAROL STREAM IL 60197-6575
6681429        +STEVENS MD, WILLIAM GRANT,     13455 VENTURA BLVD, STE 208,     SHERMAN OAKS CA 91423-6123
6681430        +STINSON, CARLTON,    1120 TYNE BLVD,    NASHVILLE TN 37220-1029
6681431        +STITES & HARBISON PLLC,     SUNBTRUST PLAZA,    401 COMMERCE ST, STE 800,
                 NASHVILLE TN 37219-2490
6681432        +TIMOTHY J PATTON TRUST,     2100 LONDONDERRY,    ANN ARBOR MI 48104-2804
6681433        +TITZER, SCOTT,    5520 INDUSTRIAL RD,     MOUNT VERNON IN 47620-7200
6681434        +TN DEPARTMENT OF REVENUE,     TN ATTY GENERAL’S OFFC, BANKR DIV,     PO BOX 20207,
                 NASHVILLE TN 37202-4015

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                              Form ID: 2040l               Total Noticed: 339


6681435        +TN DEPT COMMERCE & INSUR,     C/O TN ATTY GENERAL’S OFFC, BANKR DIV,     PO BOX 20207,
                 NASHVILLE TN 37202-4015
6681436        +TN DEPT ENVIRONMENT & CONSERVATION,      C/O TN ATTY GENERAL’S OFFC, BANKR DIV,    PO BOX 20207,
                 NASHVILLE TN 37202-4015
6681437        +TN SEC OF STATE,    C/O TN ATTY GENERAL’S OFFC, BANKR DIV,      PO BOX 20207,
                 NASHVILLE TN 37202-4015
6681438        +TRAN, ANTHONY,    510 GAY ST, APT 1113,     NASHVILLE TN 37219-1239
6681439        +TRAYLOR, KIP,    9000 MACAULEY LN,    NOLENSVILLE TN 37135-4014
6681440        +TRK AESTHETIC CONSULTING,     1302 GULLES HILL CT,    BRANDON FL 33511-7612
6681442        +UNIV OF ROCHESTER - CTR FOR EXP LEARNING,      601 ELMWOOD AVE BOX 709,    ROCHESTER NY 14642-0001
6681443         UPS,   28013 NETWORK PL,     CHICAGO IL 60673-1280
6681444         UPS 6Y1855,    LOCKBOX 577,    CAROL STREAM IL 60132-0577
6681445         US BANK,    TMS-C/M 9581,    PO BOX 70870,    SAINT PAUL MN 55170-9581
6681446        +US STORAGE CTRS,    7102 BAKERS BRIDGE AVE,     BRENTWOOD TN 37027-7985
6681447        +VATA,    308 S SEQUOIA PKWY,    CANBY OR 97013-7825
6681448        +VENDORMATE,    3445 PEACHTREE RD NE STE 300,     ATLANTA GA 30326-1234
6681449         VENTRESS DESIGN WORKS,     PO BOX 158544,    NASHVILLE TN 37215-8544
6681450         VERASONI,    271 RT 46 W,    H 202/203,    FARIFIELD NJ 07004
6681451        +VESTA,    5400 W FRANKLIN DR,    FRANKLIN WI 53132-8624
6681452         WALL, BILL,    845 MIDDLE TENNESSEE BLVD, STE B,     NASHVILLE TN 37205
6681453        +WEBB, NANCY,    715 BELLE MEADE BLVD, APT C-1,     NASHVILLE TN 37205-3853
6681454        +WELTY, TERRI,    468 HUNT DR,    LEWISVILLE TX 75067-8204
6681455         WESLYN, JENNIFER,    PO BOX 933027,     ATLANTA GA 31193-3027
6681456        +WETRICH GROUP,    325 MIRON DR STE 140,     SOUTHLAKE TX 76092-7829
6681457        +WILEY JR, DAVID W,    109 CLARENDON AVE,     NASHVILLE TN 37205-3301
6681458        +WILEY, MARGARET H,    109 CLAREDON AVE,     NASHVILLE TN 37205-3301
6681459        +WILLEMSEN, DONNA,    11204 AVERY STATION LOOP,     AUSTIN TX 78717-5052
6681461        +WILSON, PEGGY,    2002 ORVILLE DR N,     RONKONKOMA NY 11779-7661
6681462        +WITT, BRAD,    3791 ROSS PARK DR,    BIRMINGHAM AL 35226-6292
6681463        +WITZENBERGER MD, THOMAS,     901 EAST AMINO REAL, APT 7B,     BOAC RATON FL 33432-6373
6681464        +WOCN,    ATTN CHRIS BROWN,    1120 RTE 73, STE 200,    MOUNT LAUREL NJ 08054-5113
6681465        +WODOCK, PETE,    12106 PEBBLEPOINTE PASS,     CARMEL IN 46033-9678
6681466        +WOODARD, SARA B,    1306 ELIZABETH BLVD,     FORT WORTH TX 76110-2516
6681467         WOUND CARE CO UK LTD,     201 CHAPEL ST,    MANCHESTER M3 5EQ,    UNITED KINGDOM
6681468        +WOUND CARE EDUCATION INST,     25828 PASTORAL DR,    PLAINFIELD IL 60585-2533
6681469        +WOUND SOURCE,    KESTREL HEALTH INFORMATION INC,     PO BOX 189,    HINESBURG VT 05461-0189
6681470        +WOUNDEDUCATORS.COM LLC,     ATTN LAURIE SWEZEY,    4521 PGA BLVD #508,
                 PALM BCH GARDENS FL 33418-3997
6681471        +WOZNIAK, CHRIS,    4 SPLIT ROCK RD,     PITTSFORD NY 14534-1814
6681472        +WRIGHT, MARK,    419 PRESTWICK CT,    NASHVILLE TN 37205-5016
6681473        +WU, ROY,    2000 POWELL ST STE 1150,     EMERYVILLE CA 94608-1866
6681474        +YAEGER, WAYNE,    3234 RAMBLING HILL CT,     ALLENWOOD NJ 08720-7024

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
6681207         E-mail/Text: citjaxbankruptcy@cit.com Jul 25 2018 01:42:48      CIT,    21146 NETWORK PLACE,
                 CHICAGO IL 60673-1211
6681213         E-mail/Text: cenbsr_bankruptcy@cable.comcast.com Jul 25 2018 01:43:49       COMCAST,
                 PO BOX 530098,   ATLANTA GA 30353-0098
6681222         E-mail/Text: AccountsReceivable@coyote.com Jul 25 2018 01:43:21      COYOTE LOGISTICS LLC,
                 PO BOX 742636,   ATLANTA GA 30374-2636
6681225         E-mail/Text: bankruptcy@water.com Jul 25 2018 01:43:15      CRYSTAL SPRINGS,    PO BOX 660579,
                 DALLAS TX 75266-0579
6681231         EDI: RCSDELL.COM Jul 25 2018 05:33:00      DELL,   PAYMENT PROCESSING CTR,    PO BOX 5275,
                 CAROL STREAM IL 60197-5275
6681235         E-mail/Text: andrew.j.sagen@dfsco.com Jul 25 2018 01:44:11      DONNELLEY FINANCIAL SOLUTIONS,
                 PO BOX 842282,   BOSTON MA 02284-2282
6681272         EDI: GADEPTOFREV.COM Jul 25 2018 05:33:00      GEORGIA DEPT OF REVENUE,
                 COMPLIANCE DIV - ARCS BANKRUPTCY,    1800 CENTURY BLVD NE STE 9100,    ATLANTA GA 30345-3202
6681356        +E-mail/Text: oub-processing@osu.edu Jul 25 2018 01:43:38      OHIO STATE UNIV,
                 2020 BLANKENSHIP HALL,   901 WOODY HAYES DR,    COLUMBUS OH 43210-4016
6681441         E-mail/Text: accounts.receivable@uline.com Jul 25 2018 01:43:36      ULINE,    PO BOX 88741,
                 CHICAGO IL 60680-1741
6681460         E-mail/Text: claims@yosrob.com Jul 25 2018 01:42:43      WILLIAMSON COUNTY TRUSTEE,
                 PO BOX 1365,   FRANKLIN TN 37065-1365
                                                                                              TOTAL: 10

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
6681327         MEDITOP,   VLASAKKER 22,   MONTFOORT 0 3417 XT
                                                                                               TOTALS: 1, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++++’ were corrected as required by the USPS Locatable Address Conversion System (LACS).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.
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                                      Form ID: 2040l                     Total Noticed: 339


              ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 26, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 23, 2018 at the address(es) listed below:
              ERIKA R. BARNES    on behalf of Creditor    FirstBank ebarnes@stites.com,
               erikarbarnes@gmail.com;mdennis@stites.com;docketclerk@stites.com
              JOHN C. MCLEMORE    gmyecfkr@gmylaw.com, jcm@trustesolutions.com;jcm@trustesolutions.net
              JOHN C. MCLEMORE    on behalf of Trustee JOHN C. MCLEMORE gmyecfkr@gmylaw.com,
               jcm@trustesolutions.com;jcm@trustesolutions.net
              JOHN C. MCLEMORE    on behalf of Attorney    Law Office of John C. McLemore, PLLC
               gmyecfkr@gmylaw.com, jcm@trustesolutions.com;jcm@trustesolutions.net
              JOHN CHARLES TISHLER    on behalf of Debtor    Integrated Healing Technologies, LLC
               john.tishler@wallerlaw.com, Chris.Cronk@wallerlaw.com;wallerbankruptcy@wallerlaw.com
              MEGAN REED SELIBER    on behalf of U.S. Trustee    US TRUSTEE megan.seliber@usdoj.gov
              PHILLIP G YOUNG    on behalf of Trustee JOHN C. MCLEMORE phillip@thompsonburton.com
              TIMOTHY G. NIARHOS    on behalf of Creditor Albert Rodewald tim@niarhos.com,
               gail@niarhos.com;gray@niarhos.com;Rebecca@niarhos.com;G37200@notify.cincompass.com
              US TRUSTEE   ustpregion08.na.ecf@usdoj.gov
                                                                                              TOTAL: 9




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Form B2040 (Form 2040l) (12/15)

                  IN THE UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF TENNESSEE
                                                 Case No. 3:18−bk−04526
                                                       Chapter 7

In re:

   Integrated Healing Technologies, LLC
   fka Pioneer Technology, LLC
   100A Beta Drive
   Franklin, TN 37064


Employer Tax ID / Other nos.:
  20−8449167


                           NOTICE OF NEED TO FILE PROOF OF CLAIM
                                DUE TO RECOVERY OF ASSETS

Notice is given that:

The initial notice in this case instructed creditors that it was not necessary to file a proof of claim. Since
that notice was sent, assets have been recovered by the trustee. Creditors who wish to share in any distribution
of funds must file a proof of claim with the clerk of the bankruptcy court on or before:

                                             Claims Deadline Date: 10/22/18



Creditors who do not file a proof of claim on or before this date will not share in any distribution from the debtor's
estate. Registered Users must file their claim electronically at HTTPS://ECF.TNMB.USCOURTS.GOV.
Non−registered claim filers may file the claim by regular mail. If filing by regular mail you must include a stamped,
self−addressed envelope for return of claim. A Proof of Claim is a signed statement describing a creditor's claim. A
Proof of Claim (Official Form B410) can be obtained at the bankruptcy courts web site:
http://www.tnmb.uscourts.gov/forms, the United States Court Web Site:
http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx or at any bankruptcy clerk's office.

There is no fee for filing the proof of claim.

If you have already filed a proof of claim, do not file another.

                                                             BY THE COURT

Dated: 7/24/18                                               MATTHEW T LOUGHNEY
                                                             Court Clerk


Address of the Bankruptcy Clerk's Office:
701 Broadway Room 170
Nashville, TN 37203
Telephone number: 615−736−5584




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